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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


                                               :

German Plegaria and Kristine Plegaria,         :

                 Plaintiffs,                   :       Civil Case No.:

vs.                                            :

GC Services, LP                  ,             :

                 Defendant.                    :

                                               :



                                     VERIFIED COMPLAINT

         Plaintiffs, German Plegaria and Kristine Plegaria (Plaintiffs), through their attorneys,

alleges the following against Defendant, GC Services, LP (Defendant):

                                        INTRODUCTION

      1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

         U.S.C. 1692 et seq. (FDCPA).
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                                         PARTIES

 2. Plaintiffs are each a natural person residing at 12 Beckys Landing, Turnersville, New

    Jersey 08012.

 3. Defendant is a collection agency with a principal place of business located at 6330

    Gulfton St., Houston, Texas 77081.

 4. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought

    to collect a consumer debt from Plaintiff.

 5. Defendant acted through its agents, employees, officers, members, directors, heirs,

    successors, assigns, principals, trustees, sureties, subrogees, representatives, and

    insurers.

                              JURISDICTION AND VENUE

 6. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

    actions may be brought and heard before “any appropriate United States district court

    without regard to the amount in controversy.”

 7. Defendant conducts business in the state of New Jersey, and therefore, personal

    jurisdiction is established.

 8. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                               FACTUAL ALLEGATIONS

 9. Defendant places collection calls to Plaintiffs seeking and demanding payment of an

    alleged debt arising from transactions for personal, family, and/or household purposes.

 10. Defendant places collection calls to Plaintiffs’ home phone at 856-227-06XX

 11. In or around February of 2014, Defendant placed a collection call to Plaintiffs and left a

    voicemail message.




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 12. In the voicemail message, Defendant’s representative, failed to disclose the name of the

    company placing the call, failed to state that the call was being placed by a debt collector,

    and failed to state that the call was being placed to collect an alleged debt.           See

    Transcibed Voicemail Message attached hereto as Exhibit “A.”

 13. In the voicemail message, Defendant’s representative, requested a return call to 866-862-

    2793, which is a number that belongs to Defendant. See Exhibit “A.”

 14. Defendant is using false, deceptive and misleading means in connection with attempting

    to collect a debt by not identifying the purpose of its phone calls or that they are an

    attempt to collect a debt.

                           COUNT I
 DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

 15. Defendant violated the FDCPA based on the following:

        a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

            consequence of which is to harass, oppress, or abuse Plaintiff;

        b. Defendant violated §1692d(6) of the FDCPA by placing collection calls to

            Plaintiff without meaningful disclosure of the caller’s identity.

        c. Defendant violated § 1692e of the FDCPA by using false, deceptive or

            misleading representations or means in connection with the collection of the

            debt;

        d. Defendant violated § 1692e(10) of the FDCPA by using deceptive means in an

            attempt to collect a debt;

        e. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

            communications with Plaintiff that the communication was from a debt collector.




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       Wherefore, Plaintiffs, German Plegaria and Kristine Plegaria, respectfully request

judgment be entered against Defendant, GC Services, LP, for the following:


   16. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k,

   17. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

       15 U.S.C. 1692k

   18. Any other relief that this Honorable Court deems appropriate.


                  CERTIFICATION PURSUANT TO LOCAL RULE 11.2

       Pursuant to Local Rule 11.2, I certify that this matter in controversy is not the subject of

any other action pending in any court, arbitration, or administrative proceeding.



  DATED: June 26, 2014                Kurz Law Group, LLC


                                      By:/s/ Dennis R. Kurz
                                             Dennis R. Kurz
                                             Attorney for Plaintiff,
                                             German Plegaria and Kristine Plegaria




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